Case 1:03-cV-OO439-DWI\/| ECF No. 61 filed 01/20/04 Page|D.624 Page 1 of 10

sTATE oF MICHIGAN
lN THE UNITED sTATED DISTRICT CoURT FoR THE `, 1 , d
WESTERN DIsTRICT oF MICHIGAN l` ‘* “"i 5 9 F`#‘i iv 3 9
» » 1_ kt,`§'lijn
TIMoTHY J. RYAN and jj ' l ‘ " " ;'* ~i ""l‘$H
CHRIsTINE A. RYAN, 1>» t§ .. . . …__»__`
cAsE No. 1:03Cv04 9

Plaintiffs,
HON. David W. McKeague
v

ADELE MCGINN-LOOMIS and MARY
BENEDICT,

Defendants.

 

PLAINTIFFS’ BRIEF IN SUPPORT OF THEIR MOTION TO COMPEL
THE DEPOSITIONS OF JUDGE PATRICIA GARDNER, BARBARA INGRAM AND
BEVERLY FOUNTAIN
INTRODUCTION
“A judicial officer called to the stand in a case in which she is not
sitting as a judge is not disqualified by [her] office from testifying.” McCormick
on Evidence (Sth ed.), Vol. l, § 68, p. 284.

Despite this axiom of evidence, the Honorable Patricia Gardner and her staff,
Beverly Fountain (her secretary/clerk) and Barb Ingram (her court reporter), have advised
plaintiffs’ counsel that, although they will appear for depositions in this case, they will not testify
regarding nearly all of the topics on Which plaintiffs’ counsel intends to examine them. Their
refusal to provide testimony is based upon the assertion of an unsupported, common-law
“judicial privilege” and Canon 3A.(6) of the Michigan Code of Judicial Conduct. Judge Gardner
and her staff have asserted this “privilege” even though plaintiffs’ counsel has assured them that

he will not examine them regarding Judge Gardner’s mental processes in arriving at any

particular decision in the state court action over which she presided. lnstead, the examinations

Case 1:03-cV-OO439-DWI\/| ECF No. 61 filed 01/20/04 Page|D.625 Page 2 of 10

will involve only the facts and circumstances surrounding events which are critically relevant to
the issue of state action and to which Judge Gardner and her staff are witnesses. As eyewitnesses
to these events, Judge Gardner and her staff are no different than any other witness. They cannot
avoid testifying simply because Judge Gardner presided over the state court action around which
the events occurred. The law is clear on this point. Judge Gardner and her staff must be
compelled to provide testimony about the subject matters that plaintiffs’ counsel intends to
explore.
BACKGROUND

This is a § 1983 case with supplemental state law claims arising out of
defendants’ prosecution and conspiracy to prosecute frivolous claims of emancipation, abuse and
neglect and “Divorce from Parents” claims in the state court case of Claire Evelyn Ryan v.
Timothy Ryan and Christine Ryan, Kent County Probate Court Case No. 01-09528-DZ.

At the time that Judge Gardner and her staff refused to testify in this federal case,
the state court case was on appeal in the Michigan Court of Appeals where plaintiffs (defendants
in the state court case) had asked the Court of Appeals to declare every order entered in the state
court action void ab initio. Defendant Mary Benedict was Claire Ryan’s purported attorney in
the state court action. Defendant Adele McGinn-Loomis is a Kent County Court Clerk whose
son was dating plaintiffs’ daughter Claire when defendant Benedict commenced the state court
action. On January 15, 2004, the Michigan Court of Appeals issued its decision in the state court
case. In a published opinion, the Court of Appeals reversed and remanded the case to the state
court with instructions to enter an order of dismissal with prejudice in plaintiffs’ favor (the
defendants in the state court case) and vacate all orders entered by the trial court as void ab

initio. A copy of the Michigan Court of Appeals Opinion is attached as Tab 1.

Case 1:03-cv-00439-DW|\/| ECF No. 61 filed 01/20/04 Page|D.626 Page 3 of 10

Many of the facts relevant to this motion are set forth in the Michigan Court of
Appeals decision and in plaintiffs’ brief in opposition to defendants’ motions to dismiss.
Nonetheless, plaintiffs will provide this Court with general background information as it relates
to this motion.

On September 19, 2001, defendant McGinn-Loomis facilitated an illegal, ex parte
contact between defendant Benedict and Judge Gardner. This facilitation possibly involved
defendant McGinn-Loomis telephoning Judge Gardner’s court reporter, Barb Ingram, who in
turn telephoned Judge Gardner (at her home presumably), who in turn telephoned defendant
McGinn-Loomis and gave her permission to provide defendant Benedict With Judge Gardner’s
home telephone number. (See Defendant McGinn Loomis’ Brief in Support of her Motion to
Dismiss, p. 2). lt also may have involved defendant McGinn-Loomis telephoning Judge Gardner
at her home directly. (See Motion for Disqualiflcation Transcript, dated October 17, 2001, pp.
18-19; M). Based upon the different explanations for how the meeting between Judge
Gardner and defendant Benedict was arranged, the depositions of Judge Gardner and her staff are
absolutely critical on the issue of state action that is presently before the Court.

Irrespective of how defendant McGinn-Loomis coordinated the meeting between
Judge Gardner and defendant Benedict, it is undisputed that Judge Gardner and defendant
McGinn-Loomis had a conversation on September 19, 2001, regarding plaintiffs and their
daughter Claire. But it is unknown What they discussed. Judge Gardner has previously stated
that, besides apologizing for calling her at her horne and disclosing that Claire Ryan was her
son’s girlfriend, defendant McGinn-Loomis merely inquired whether she could provide
defendant Benedict with her home telephone number. (See Motion for Disqualiflcation

Transcript, dated October 17, 2001, pp. 18-19; Tab 2).

Case 1:03-cV-00439-DWl\/l ECF No. 61 filed 01/20/04 PagelD.627 Page 4 of 10

Contrary to Judge Gardner’s explanation, however, defendant McGinn-Loomis
filed an affidavit in the state court action in which she made disparaging comments about
plaintiffs and swore that those comments were verbally provided to Judge Gardner. (See
Affidavit of Adele McGinn-Loomis, M.) Although defendant McGinn-Loomis has since
denied in deposition that she ever met with Gardner on the evening of September 19, 2001, or
that she ever verbally gave the information set forth in the affidavit to Judge Gardner, given the
conflicting statements of Judge Gardner and defendant McGinn-Loomis, Judge Gardner’s
deposition is absolutely necessary to explore all aspects of her conversation with defendant
McGinn-Loomis on September 19, 2001.

Following defendant McGinn-Loomis’ conversation with Judge Gardner, it is
undisputed that defendant Benedict met with Judge Gardner somewhere - presumably at Judge
Gardner’s home but unquestionably at a mutually agreed-upon location. lt is unknown what
defendant Benedict and Judge Gardner discussed at that meeting, but it is undisputed that Judge
Gardner signed the ex parte order attached as W. This order recites that Judge Gardner had
reviewed and considered a verified motion and affidavit lmportantly, on September 19, 2001,
no such pleadings existed, yet it is unknown what defendant Benedict or defendant McGinn-
Loomis might have told Judge Gardner about the existence of these pleadings. lt is critical that
plaintiffs be allowed to depose Judge Gardner regarding this issue.

lt is also undisputed that on September 19, 2001, when Judge Gardner signed the
ex parte order attached as ;I`M, there was no lawsuit pending within the jurisdiction of the state
court. The lawsuit was not filed until the following day. (See the Docket Sheet for Kent County
Probate Court Case No. 01-09528-DZ, attached as M_S.) Because there was no case within the

jurisdiction of the state court on September 19, 2001, Judge Gardner should not have signed the

Case 1:03-cV-00439-DWl\/l ECF No. 61 filed 01/20/04 PagelD.628 Page 5 of 10

ex parte order. But it is unknown what defendant Benedict may have represented to Judge
Gardner about the pendency of such a state court action when she met with Judge Gardner on
September 19, 2001, She or defendant Adele-McGinn-Loomis could have expressed or implied
to Judge Gardner that a case had been opened and assigned to Judge Gardner. Plaintiffs must be
allowed to examine Judge Gardner regarding this conversation In fact, if Judge Gardner was
misled into believing that a case had previously been filed and assigned to her, this may very
well explain in part why Judge Gardner signed the ex parte order.

On the morning of September 20, 2001, defendant Benedict filed her “Complaint
for Divorce from Parents.” (See the Docket Sheet for Kent County Probate Court Case No. 01-
09528-DZ, attached as M.) Waiting at the Kent County Circuit Court Clerk’s Office window
was defendant McGinn-Loomis, who receipted the new case and, after discussions with
defendant Benedict, assigned the case to Judge Gardner. See Confidential Memorandum of
Mary Kelly, dated August 20, 2002; Ta_b6_. The new case was not assigned in accordance with a
then-existing administrative directive, which required that the case be assigned to the Honorable
Paul Sullivan. See M. lnstead, defendants, McGinn-Loomis and Benedict, assigned the case
to the judge of their choice, Judge Gardner, after each had illicitly communicated with Judge
Gardner regarding the matter the night before. Plaintiffs must be permitted to examine Judge
Gardner and her staff regarding their knowledge of defendants’ manipulation of the judicial
assignment

Plaintiffs presently have no intention to examine Judge Gardner and her staff
regarding Judge Gardner’s mental processes in arriving at any decision in the state court action.

They have made this clear to Judge Gardner. Plaintiffs merely want to examine these witnesses

Case 1:03-cV-00439-DWl\/l ECF No. 61 filed 01/20/04 PagelD.629 Page 6 of 10

regarding their observations and their conduct. They are witnesses to events relevant to
plaintiffs’ federal court action and the issue of state action. They must be compelled to testify.

Plaintiffs have made every reasonable effort to coordinate the depositions of
Judge Gardner and her staff. On December 8, 2003, plaintiffs’ counsel wrote Judge Gardner
seeking deposition dates See M. On December 17, 2003, Judge Gardner wrote back citing
Canon 3A.(6) of the Michigan Code of Judicial Conduct and representing that, because the state
court case was still pending in the Michigan Court of Appeals, it was inappropriate for her to
speak about the case. See W.

ln response, on December 19, 2003, Plaintiffs’ counsel again wrote Judge
Gardner explaining to her that the scope of the intended deposition clearly fell outside Canon
3A.(6), and he again asked her to provide deposition dates Having received no response from
Judge Gardner, plaintiffs’ counsel reluctantly served deposition subpoenas upon Judge Gardner,
Barb lngram and Beverly Fountain.

ln response to the deposition subpoenas, plaintiffs’ counsel received a telephone
call from attorney Thomas Koemke who advised him that he would be representing Judge
Gardner and her staff in connection with the depositions He stated that Judge Gardner and her
staff would likely refuse to testify at their depositions, but he invited a letter from plaintiffs’
counsel advising him of the areas that he would likely cover during the depositions

On January 9, 2004, plaintiffs’ counsel sent that letter to counsel for Judge
Gardner, advising him of the subject matters that would likely be covered during the depositions
and providing him with authority for the propriety of the intended depositions See Bb_l£.

On January 12, 2004, the morning of the depositions, Judge Gardner’s counsel

responded Although he stated that Judge Gardner and her staff would testify in two of the areas

Case 1:03-cV-00439-DWl\/l ECF No. 61 filed 01/20/04 PagelD.630 Page 7 of 10

described by plaintiffs’ counsel, namely, their relationships With each defendant, they would not
testify in any of the other areas, claiming “the privilege.” See M.

Following a telephone conversation between plaintiffs’ counsel and Judge
Gardner’s attorney, they agreed to adjourn the depositions of Judge Gardner and her staff and
bring the issue to this Court for a ruling.

For the reasons that follow, this Court should issue an order compelling Judge
Gardner and her staff to provide testimony in the areas described in plaintiffs’ January 9, 2004,
letter to Judge Gardner’s attorney,

LAW AND ARGUMENT
I. A JUDGE AND HER STAFF ARE LIKE ANY OTHER WITNESS TO FACTS
AND EVENTS THAT UNFOLD BEFORE THEM. THEY CANNOT HIDE
BEHIND THE CLOAK OF THE JUDICIARY TO AVOID HAVING TO TESTIFY
TO THOSE FACTS AND EVENTS.

As stated above, “[a] judicial officer called to the stand in a case in which she is
not sitting as a judge is not disqualified by [her] office from testifying.” McCormick on
Evidence (Sth ed..), Vol. l, § 68, p. 284. Although it is generally inappropriate to question a
judge regarding her mental processes in deciding an issue before her, see, e.g., Um'ted States v.
Morgan, 313 U.S. 409, 422; 61 S.Ct. 999; 85 L.Ed. 1429 (1941), it is perfectly appropriate to
examine a judge regarding relevant matters of fact that do not probe into or compromise the
mental processes employed in formulating a particular judgment, see United States v. Roebuck,
271 F.Supp.Zd 712, 718 (Dist. Virgin lslands, 2003); Um`ted Stales v. Dowdy, 440 F.Supp. 894,
896 (W.D.Virginia 1977); Stana’ara' Packaging Corporation v. Curwood, Inc., 365 F.Supp. 134,
135 (N.D.lll. 1973). At this stage in this federal case, plaintiffs merely want to examine Judge

Gardner and her staff regarding events to which they are fact witnesses See Tab 10. There is

no legitimate basis under the law for these witnesses to refuse to answer questions in these areas

Case 1:03-cV-00439-DWl\/l ECF No. 61 filed 01/20/04 PagelD.631 Page 8 of 10

The only authority cited by Judge Gardner and her staff in support of not
providing the requested testimony during their depositions is Reycraft v. McDonald, 194 Mich.
500; 160 N.W. 836 (1916). See Tab 11. This case does not stand for the proposition for which
it was cited. Although the Michigan Supreme Court in Reycraft, quoting Flynn v. Boglarsky,
164 Mich. 513; 129 N.W. 674 (1911), discussed a concept of privilege, the “privilege” in
question in Reycraft was the privilege to speak without fear of liability, i.e., the privilege to
defame. Specifically, Reycraft dealt with the exemption from liability in libel and slander cases
where a claim of defamation is premised upon statements made in court. Reycraj‘ has absolutely
nothing to do with a judicial officer’s ability to avoid providing relevant, fact-based testimony in
a legal proceeding ln fact, there is no such privilege against providing such testimony.

Consequently, Judge Gardner and her staff must be compelled to provide the
requested testimony.

II. CANON 3A.(6) OF THE MICHIGAN CODE OF JUDICIAL CONDUCT DOES
NOT PROVIDE A LEGITIMATE BASIS FOR JUDGE GARDNER OR HER
STAFF TO AVOID PROVIDING TESTIMONY.

Judge Gardner and her staff also rely upon Canon 3A.(6) to avoid having to
submit to depositions This Canon provides:

A judge should abstain from public comment about a pending or impending
proceeding in any court, and should require similar abstention on the part of court
personnel subject to the judge’s direction and control. This subsection does not
prohibit a judge from making public statements in the course of official duties or
from explaining for public information the procedures of the court or the judge’s
holdings or actions

First, it is highly questionable whether a judge can rely upon a Canon of Judicial
Conduct to avoid complying with a lawful subpoena to provide testimony. But assuming that a

judge can so rely, this particular Canon, by its own terms, pertains to judges making public

comments about pending or impending cases Neither Judge Gardner nor her staff has been

Case 1:03-cV-00439-DWl\/l ECF No. 61 filed 01/20/04 PagelD.632 Page 9 of 10

asked to publicly comment about a pending or impending proceeding in any court. lnstead, they
have been involuntarily subpoenaed to testify in a federal lawsuit about events that they either
witnessed or participated in. This Canon was clearly not designed to prevent such testimony.

And importantly, the pending proceeding that Judge Gardner cites as preventing
her from complying with the deposition subpoenas is the state court case of Claire Evelyn Ryan
v. Timothy Ryan and Christine Ryan, Kent County Probate Court Case No. 01-09528-DZ, which
was pending in the Michigan Court of Appeals when Judge Gardner raised this particular
objection to not providing her testimony. But that appeal has now been decided. See M.
The only task left to be accomplished in the state court action is strict compliance with the order
of remand of the Michigan Court of Appeals, namely, the entry of an order dismissing the state
court action with prejudice and declaring all orders entered by the state court void ab initio - a
purely ministerial function.

Judge Gardner and her staff’ s reliance upon this Canon of Judicial Conduct is
misplaced. They cannot avoid providing relevant, fact-based testimony regarding events that

they witnessed or participated in.

CaSe 1203-CV-OO439-DW|\/| ECF NO. 61 filed 01/20/04 Page|D.GSS Page 10 Of 10

CONCLUSION

For these reasons, plaintiffs request that this Court enter an order compelling

Judge Gardner, Barb lngram and Beverly Fountain to submit to depositions on the issue of state

action.

Dated: January m , 2004

803575 79411-001 1/20/04

Respectfully submitted,

Miller, Johnson, Snell & Cummiskey, P.L.C.
Attomeys for Plaintiffs

By tim

J ss.Brad§/(leo)
dE. Hiuaiy, 11(1>56 2)

Business Address:

250 Monroe Avenue NW, Suite 800
Grand Rapids, Ml 49503
616/831-1700

1(\

